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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

  UNITED STATES OF AMERICA,                       )
                                                  )
  Plaintiff                                                    Criminal No. 13-20-GFVT
                                                  )
                                                  )
  V.                                                                     ORDER
                                                  )
                                                  )
  BOBBY DARRELL CANADA, II,
                                                  )
                                                  )
  Defendant


                                       *** *** *** ***

        Before the Court is Magistrate Judge Hanly A. Ingram’s Recommended Disposition. [R.

1057.] On May 10, 2016, Defendant Bobby Darrell Canada submitted a urine specimen that

tested positive for “a metabolite of oxycodone.” [Id.] He is now charged with violating two

conditions of his supervised release, including (1) use of a controlled substance and (2)

commission of another federal and/or state crime. [Id. at 2.] At his final revocation hearing,

Canada “competently entered a knowing, voluntary, and intelligent stipulation to both

violations.” [Id. at 3.]

        In his recommendation, Judge Ingram fully considered the § 3553 factors incorporated

into the § 3583(e) analysis. He noted that “a large scale methamphetamine conspiracy, such as

the one Defendant was a part of, poses a significant danger to the community.” [Id. at 5-6.] And

he also found that “the need to protect the public and deter future criminal conduct is significant

in this case as any use of controlled substances while on release constitutes criminal conduct and

endangers public safety.” [Id. at 6.] Judge Ingram also recognized, however, that Canada “has

demonstrated his ability to maintain employment while on release,” and that he has “consistently

been forthcoming and honest in response to all inquiries made by the USPO.” [Id.] Still, “his
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repeated use of a variety of different controlled substances,” even after the Court gave him some

leniency, “indicates that he does not appreciate the severity of his addiction.” [Id.] Ultimately,

Judge Ingram recommended revocation of Canada’s release and a term of imprisonment of seven

months. [Id. at 8.]

         Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). But when

no objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has carefully examined the record and agrees with Judge Ingram’s Recommended

Disposition.

         Accordingly, the Court HEREBY ORDERS as follows:

         1. The Recommended Disposition [R. 1057] as to Defendant Bobby Darrell Canada, II is

ADOPTED as and for the Opinion of the Court;

         2. Canada is found to have violated the terms of his Supervised Release as set forth in the

Report filed by the U.S. Probation Officer and the Recommended Disposition of the Magistrate

Judge;

         3. Canada’s Supervised Release is REVOKED;

         4. Canada is SENTENCED to the Custody of the Bureau of Prisons for a term of seven

(7) months with a term of supervised release of forty-eight (48) months, under the conditions

previously imposed at DE 662, including that, upon release, he shall be evaluated by the USPO



                                                  2
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for eligibility for participation in a substance abuse program; and

       5. Judgment shall be entered promptly.


       This 8th day of August, 2016.




                                                 3
